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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



  DONELL FREEMAN,                                     Docket No. 3:18-cv-7802

                                    Plaintiff,                        Civil Action

  vs.                                                         AMENDED COMPLAINT


  KABEERUDDIN HASHMI, M.D., KEVIN
  MCDONNELL, M.D., DR. JOHN DOE,
  M.D., MONMOUTH COUNTY
  CORRECTIONAL INSTITUTION,
  DONALD SUTTON, JOHN DOES A-E,
  CORRECT CARE SOLUTIONS LLC d/b/a
  WELLPATH, SCOTT MILLER, M.D., ST.
  FRANCIS MEDICAL CENTER, ZIMMER
  BIOMET HOLDINGS, COUNTY OF
  MONMOUTH, DEPARTMENT OF
  CORRECTIONS, STATE OF NEW
  JERSEY, STATE OF NEW JERSEY,

                              Defendants.



 To:

  Kabeeruddin Hashmi, M.D.                           Correct Care Solutions d/b/a Wellpath
  1 Waterworks Road                                  1283 Murfreesboro Road
  Freehold, NJ 07728                                 Nashville, TN 37217




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  Kevin McDonell, M.D.                             Monmouth County Correctional Institution
  1 Waterworks Road                                1 Waterworks Road
  Freehold, NJ 07728                               Freehold, NJ 07728

  Dr. John Doe, M.D.                               Zimmer Biomet Holdings
  1 Waterworks Road                                345 East Main Street
  Freehold, NJ 07728                               Warsaw, IN 46580

  Donald Sutton                                    St. Francis Medical Center
  1 Waterworks Road                                601 Hamilton Avenue
  Freehold, NJ 07728                               Trenton, NJ 08629

  John Does A-E                                    County of Monmouth
  1 Waterworks Road                                c/o Tom Reardon
  Freehold, NJ 07728                               Reardon Anderson LLC
                                                   55 Gilbert Street North
  Scott Miller, M.D.                               Suite 2204
  601 Hamilton Avenue                              Tinton Falls NJ 07701
  Trenton, NJ 08629
                                                   Department of Corrections -
                                                   State of New Jersey
                                                   c/o Gurbir Grewal
                                                   Attorney General
                                                   25 Market Street
                                                   8th Floor, West Wing
                                                   Trenton, NJ 08625

                                                   State of New Jersey
                                                   c/o Gurbir Grewal
                                                   Attorney General
                                                   25 Market Street
                                                   8th Floor, West Wing
                                                   Trenton, NJ 08625



  ___________________________________________________________________________

                                COMPLAINT FOR A CIVIL CASE

        Plaintiff, Donell Freeman, by way of Complaint against Defendants, says as follows:




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                                    JURISDICTION AND VENUE

 1.)    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the
        question arises under the laws and Constitution of the United States, namely whether
        Defendants violated Plaintiff’s rights under the U.S. Constitution.

 2.)    This Court has jurisdiction over state law claims herein presented pursuant to 28 U.S.C. §
        1367 because the claims are part of a case over which the court has federal question
        jurisdiction.

 3.)    Venue is properly laid in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2)
        because all relevant events took place in New Jersey.


                                         THE PARTIES

 4.)    Plaintiff Donell Freeman is an inmate at Northern State Prison, 168 Frontage Road,
        Newark, NJ 07114.

 5.)    Defendant Monmouth County Correctional Institution (“MCCI”) is prison facility located
        at 1 Waterworks Road, Freehold, NJ 07728.

 6.)    Defendant Donald Sutton is the warden of MCCI.

 7.)    John Does A-E are supervisors at MCCI.

 8.)    Defendant Correct Care Solutions, LLC d/b/a Wellpath (“Wellpath”) is a private
        company headquartered at 1283 Murfreesboro Road, Nashville, TN 37217. Wellpath is
        in the business of providing medical services to prisoners. On information and belief,
        Wellpath was a contractor of MCCI.

 9.)    Defendant Kabeeruddin Hashmi, M.D. is an employee of Wellpath and/or MCCI.

 10.)   Defendant Kevin McDonald, M.D. is an employee of Wellpath and/or MCCI.

 11.)   Defendant Dr. John Doe, M.D. is an employee of Wellpath and/or MCCI. Dr. John Doe,
        M.D. is a male who, on information and belief, is an immigrant from Africa.

 12.)   St. Francis Medical Center (“St. Francis”) is a hospital located at 601 Hamilton Avenue,
        Trenton, New Jersey. On information and belief, St. Francis had a contract with the New
        Jersey Department of Corrections to provide medical care to prisoners incarcerated in
        state prisons.

 13.)   Scott Miller, M.D. is an orthopedic surgeon employed by St. Francis Medical Center.

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 14.)   Zimmer Biomet is a manufacturer of hip replacement devices, headquartered at 345 East
        Main Street, Warsaw, IN 46580.

 15.)   Defendant County of Monmouth is, on information and belief, the true party which must
        be sued when alleging illegal activity attributable to MCCI.

 16.)   Defendant Department of Corrections, State of New Jersey, on information and belief, is
        the true party which must be sued when alleging illegal activity attributable to MCCI.

 17.)   Defendant State of New Jersey, on information and belief, is the true party which must be
        sued when alleging illegal activity attributable to MCCI.


                                     FACTUAL BACKGROUND

 18.)   Plaintiff is a male whose date of birth is December 25, 1975.

 19.)   At about age 14, Plaintiff injured his hip. A screw was surgically implanted in his hip in
        order to treat the injury.

 20.)   In 2011, Plaintiff was serving a sentence at Northern State Prison.

 21.)   On August 23, 2011, Plaintiff fell off the bunk in his cell during the earthquake that
        affected the Northeastern United States on that day.

 22.)   When he struck the floor, Plaintiff felt something in his hip slip out of place, and he
        began to experience hip pain.

 23.)   X-rays were taken at Northern State Prison in 2012 and 2013.

 24.)   In 2015, Plaintiff was released from Northern State Prison.

 25.)   Plaintiff experienced significant problems finding and keeping a job due to the mounting
        pain in his hip.

 26.)   On June 29, 2015, Plaintiff, intoxicated on an unknown substance that was given to him
        by a friend, grabbed the cash register from a supermarket after a disagreement with the
        cashier arose about the amount of money on a debit card. Plaintiff then exited the store
        with the cash register.

 27.)   After taking the cash register, he got into a friend’s car and drove away from the
        supermarket.

 28.)   Plaintiff crashed the car.

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 29.)   After the car crash, he was arrested and taken to Bayshore Hospital for treatment because
        of injuries that included severe pain in his hip.

 30.)   At Bayshore Hospital, x-rays of Plaintiff’s hip were taken, and doctors ordered follow-up
        x-rays to be taken by the prison facility to which Plaintiff was transferred.

 31.)   Plaintiff was transferred to MCCI.

 32.)   At MCCI, Plaintiff was given Motrin, but not an x-ray.

 33.)   Plaintiff was in severe and excruciating pain.

 34.)   Plaintiff let medical staff know that the Motrin did nothing to help the pain.

 35.)   His leg would jerk involuntarily.

 36.)   He would wake up crying from the pain.

 37.)   He experienced numbness in his leg.

 38.)   Plaintiff would feel his hip “pop out of place.”

 39.)   The pain was so excruciating and unremitting that Plaintiff developed mental illness and
        was given psychiatric drugs.

 40.)   Plaintiff experienced serious problems with mobility due to the pain.

 41.)   Plaintiff’s ability to go up and down stairs was extremely compromised, and the ordeal of
        the stairs was incredibly painful.

 42.)   Plaintiff experienced difficulty showering due to the pain, and as a result, he could not
        appropriately shower.

 43.)   After six months of excruciating pain, an x-ray was finally taken.

 44.)   He was told that the pain he was experiencing was just the result of an old fracture that
        had healed.

 45.)   Sure that there was a serious problem, Plaintiff requested follow-up diagnostics.

 46.)   All requests were denied.



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 47.)   Plaintiff requested to be placed in a medical wing where there were toilets and showers
        for disabled inmates and no stairs.

 48.)   This request was denied.

 49.)   Plaintiff requested a wheelchair, cane, or permission to use the bottom bunk. These
        requests for reasonable accommodation were all denied.

 50.)   For two years, Plaintiff was disabled, living in agony, and yet the prison did nothing to
        accommodate the disability or attend to the pain.

 51.)   In April 2017, Plaintiff was transferred to South Woods State Prison.

 52.)   At South Woods, a nurse, upon observing Plaintiff attempt to walk, immediately ordered
        an x-ray.

 53.)   The x-ray demonstrated that Plaintiff’s hip was severely deformed, that the screw in his
        hip had come loose, and that he needed a complete hip replacement.

 54.)   On December 12, 2017, Plaintiff underwent a total hip replacement at St. Francis
        Hospital.

 55.)   During the surgery, surgeon Scott Miller, M.D. noted “significant adhesions” that had to
        be broken up with a Cobb elevator.

 56.)   The surgeon struggled to remove the screw that was deeply embedded in soft tissue.

 57.)   During surgery, Plaintiff was implanted with the Zimmer Biomet Taperloc device.

 58.)   Biomet was a successful medical device company which was purchased by Zimmer in
        2014 to create Zimmer Biomet, the # 2 producer of orthopedic implants in the country.

 59.)   Zimmer Biomet was aware that its Taperloc device was defective but continued to market
        it anyway.

 60.)   Eventually, Zimmer Biomet issued a recall on the Taperloc device with which Plaintiff
        was implanted.

 61.)   Patients implanted with Zimmer Biomet Taperloc hip replacements are at increased risk
        for osteolysis, metallosis, and early device failure.

 62.)   This is especially true where the femoral component and the acetabular component are
        both made of metal.


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 63.)   Plaintiff was told by Dr. Miller and by a prison medical professional who reviewed post-
        surgical x-rays that Plaintiff was given a metal-on-metal hip replacement.


                                      COUNT I
        Eighth Amendment – Deliberate Indifference to a Serious Medical Condition
                                  (42 U.S.C. § 1983 )

 64.)   Plaintiff has a right under the Eighth Amendment of the Constitution to be free from
        cruel and unusual punishment.

 65.)   Cruel and unusual punishment may take the form of deliberate indifference to a serious
        medical condition.

 66.)   Severe pain is a serious medical condition.

 67.)   Plaintiff let Defendants Hashmi, McDonnell, and Dr. John Doe. M.D. know repeatedly
        that he was in severe pain and that the only treatment they provided, Motrin, was
        completely ineffective.

 68.)   Defendant Hashmi was deliberately indifferent to Plaintiff’s serious medical need by
        ignoring blatant evidence that Plaintiff was in severe pain and needed additional
        diagnostics and/or treatment to alleviate the severe pain.

 69.)   Defendant McDonell was deliberately indifferent to Plaintiff’s serious medical need by
        ignoring blatant evidence that Plaintiff was in severe pain and needed additional
        diagnostics and/or treatment to alleviate the severe pain.

 70.)   Defendant Dr. John Doe, M.D. was deliberately indifferent to Plaintiff’s serious medical
        condition by ignoring blatant evidence that Plaintiff was in severe pain and needed
        additional diagnostics and/or treatment to alleviate the severe pain.

 71.)   Warden Donald Sutton was personally involved in the deliberate indifference to
        Plaintiff’s serious medical condition by denying Plaintiff’s requests for treatment and/or
        ratifying policies and/or decisions that forbid the doctors from attending to Plaintiff’s
        severely painful condition.

 72.)   John Does A-E were supervisors at MCCI who were personally involved in the deliberate
        indifference to Plaintiff’s serious medical condition by denying Plaintiff’s requests for
        treatment and/or ratifying policies and/or decisions that forbid the doctors from attending
        to Plaintiff’s severely painful condition.


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 73.)   By knowingly placing a defective device in Plaintiff, Dr. Scott Miller was deliberately
        indifferent to Plaintiff’s serious medical condition.

                                          COUNT II
                           Design Defect under Products Liability Act
                                       (N.J.S.A. 2A:58C)

 74.)   Zimmer Biomet had the duty as a manufacturer of hip replacement devices to make sure
        the devices were reasonably safe, fit, and suitable hip prosthetics.

 75.)   The Zimmer Biomet Taperloc was not reasonably safe for its intended purpose.

 76.)   Zimmer Biomet’s Taperloc was designed with flaws which pose a danger contrary to the
        reasonable expectations of hip replacement patients.

 77.)   There was a safer alternative to the flawed design of the Zimmer Biomet Taperloc that
        would not have impaired its usefulness or made it too expensive.

 78.)   The Zimmer Biomet Taperloc contained a design defect that places Plaintiff at increased
        risk for osteolysis, metallosis, and premature failure, which will necessitate his
        undergoing another operation and having another device implanted in his body.

                                              COUNT III
                                           Medical Malpractice

 79.)   Defendants Dr. Hashmi, Dr. McDonnell, and Dr. John Doe were negligent in the
        diagnosis and treatment of Plaintiff’s serious medical condition.

 80.)   The negligence of these Defendants resulted in Plaintiff becoming disabled and suffering
        in extreme pain for two years.

 81.)   Wellpath is responsible via the principle of respondeat superior for the negligence of its
        doctors.

 82.)   Dr. Scott Miller, by implanting in Plaintiff a device that had been recalled, was negligent
        in the treatment of Plaintiff, exposing him to increased risk of osteolysis, metallosis, and
        premature failure, which will necessitate his undergoing another operation and having
        another device implanted in his body.

 83.)   St. Francis Hospital is liable via the principle of respondeat superior for the negligence of
        its doctors.




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                                             COUNT IV
                                    Americans with Disabilities Act
                                         (42 U.S.C. § 12101)


 84.)   Prison officials employed by MCCI denied Plaintiff reasonable accommodations that
        would have permitted him equal access to the prison facilities.

 85.)   These denials included denial of living in a prison ward without stairs, denial of the use
        of a handicap-accessible shower, denial of the use of a lower bunk, denial of the use of a
        wheelchair, denial of the use of a cane, and other denials.

 86.)   These denials violated the Americans with Disabilities Act.

 87.)   Kabeeruddin Hashmi, M.D. was directly responsible for denying Plaintiff reasonable
        accommodations.

 88.)   Kevin McDonnell, M.D. was directly responsible for denying Plaintiff reasonable
        accommodations.

 89.)   Dr. John Doe, M.D. was directly responsible for denying Plaintiff reasonable
        accommodations.

 90.)   John Does A-E are supervisors and/or prison employees who were directly responsible
        for denying Plaintiff reasonable accommodations and/or created policies which denied
        Plaintiff reasonable accommodations.

 91.)   Donald Sutton was directly responsible for denying Plaintiff reasonable accommodations
        and/or creating policies denying Plaintiff the rights to reasonable accommodations.

 92.)   MCCI, County of Monmouth, Department of Corrections – State of New Jersey, and/or
        State of New Jersey are vicariously liable under the Americans with Disabilities Act for
        the illegal acts of their employees.




                                            COUNT V
                               New Jersey Law Against Discrimination
                                         (N.J.S.A. 10:5-12)

 93.)   Prison officials employed by MCCI denied Plaintiff reasonable accommodations that
        would have permitted him equal access to the prison facilities.



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 94.)   These denials included denial of living in a prison ward without stairs, denial of the use
        of a handicap-accessible shower, denial of the use of a lower bunk, denial of the use of a
        wheelchair, denial of the use of a cane, and other denials.

 95.)   These denials violated the New Jersey Law Against Discrimination

 96.)   Kabeeruddin Hashmi, M.D. was directly responsible for denying Plaintiff reasonable
        accommodations.

 97.)   Dr. John Doe, M.D. was directly responsible for denying Plaintiff reasonable
        accommodations.

 98.)   John Does A-E are supervisors and/or prison employees who denied Plaintiff reasonable
        accommodations and/or created policies which denied Plaintiff reasonable
        accommodations.

 99.)   Donald Sutton denied Plaintiff reasonable accommodations directly and/or created
        policies that denied Plaintiff the rights to reasonable accommodations.

 100.) MCCI, County of Monmouth, Department of Corrections – State of New Jersey, and/or
       State of New Jersey are responsible under the Law Against Discrimination for the illegal
       acts of their employees.


 Wherefore, Plaintiff Donell Freeman demands judgment against Defendants, together with court
 costs, applicable statutory attorney fees, and other such relief as the court may deem just and
 appropriate.




                                                             ______________________________
                                                                MICHAEL POREDA, ESQ.
                                                                 Attorney for Plaintiff

 Date: July 23, 2019


                                         JURY DEMAND

 Plaintiff hereby demands a trial by jury.




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                                DESIGNATION OF COUNSEL

 Michael Poreda, Esq. is hereby designated as trial counsel.



                       CERTIFICATION PURSUANT TO L.Civ.R. 11.2

        I certify that to the best of my knowledge and upon information and belief, the matter in
 controversy is not related to or the subject of any other action pending in any court, or of any
 pending arbitration or administrative proceeding.




                                                                    ________________________
                                                                    MICHAEL POREDA, ESQ.
                                                                    Attorney for Plaintiff
 Date: July 23, 2019




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